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15
16    THERESA SWEET, et al.,
                                                      No. 3:19-cv-03674-WHA
17
                        Plaintiffs,
18
             v.
19                                                    ADMINISTRATIVE RECORD INDEX
      ELISABETH DEVOS, in her official capacity
20    as Secretary of Education, and the UNITED
21    STATES DEPARTMENT OF EDUCATION

22                      Defendants.
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